     Case: 23-30445   Document: 241        Page: 1    Date Filed: 09/11/2023



                              No. 23-30445


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


   STATE OF MISSOURI; STATE OF LOUISIANA; AARON KHERIATY;
MARTIN KULLDORFF; JIM HOFT; JAYANTA BHATTACHARYA; JILL HINES,
                                            Plaintiffs-Appellees,
                                      v.
    JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY; XAVIER BECERRA;
DEPARTMENT OF HEALTH & HUMAN SERVICES; ANTHONY FAUCI, et al.,
                                            Defendants-Appellants.


              On Appeal from the United States District Court
                  for the Western District of Louisiana


       EMERGENCY MOTION UNDER CIRCUIT RULE 27.3
  FOR A PARTIAL STAY PENDING ISSUANCE OF THE MANDATE
      OR FOR ISSUANCE OF THE MANDATE FORTHWITH


                                           BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney
                                                General
                                           BRANDON BONAPARTE BROWN
                                             United States Attorney
                                           DANIEL TENNY
                                           DANIEL WINIK
                                           SIMON C. BREWER
                                             Attorneys, Appellate Staff
                                             Civil Division, Room 7245
                                             U.S. Department of Justice
                                             950 Pennsylvania Avenue NW
                                             Washington, DC 20530
                                             (202) 305-8849
        Case: 23-30445      Document: 241      Page: 2      Date Filed: 09/11/2023




                 CERTIFICATE OF INTERESTED PERSONS

                                        Missouri v. Biden

      A certificate of interested persons is not required under Fifth Circuit Rule 28.2.1

as appellants are all governmental parties.



                                                  /s/ Daniel Winik
                                                  Daniel Winik
        Case: 23-30445      Document: 241        Page: 3   Date Filed: 09/11/2023




       The government respectfully moves for a partial stay of the preliminary injunc-

tion entered by the district court, to the extent that injunction is inconsistent with this

Court’s September 8 ruling, pending the issuance of this Court’s mandate. In the alter-

native, the government respectfully moves for issuance of the mandate forthwith. One

of those forms of relief is necessary to avoid allowing the preliminary injunction en-

tered by the district court to take effect upon the expiration of the ten-day administra-

tive stay entered by this Court even though this Court concluded that the injunction

should be vacated in part and that the remaining portion of the injunction should be

modified. We respectfully request that the Court act on this motion no later than

Wednesday, September 13, because the nature of the injunction that will take effect

upon the expiration of the administrative stay will inform any request for relief the

government may file in the Supreme Court.

       1.     The preliminary injunction from which this appeal arises, entered by the

district court on July 4, remained in effect for only ten days, at which point a motions

panel of this Court administratively stayed it, while referring the government’s motion

for a stay pending appeal to the merits panel. On September 8, the merits panel issued

an opinion vacating the injunction in part and concluding that the remainder must be

modified. This Court held, in relevant part, that the injunction was “broader than nec-

essary to remedy the Plaintiffs’ injuries,” Op. 66; that it lacked the specificity required

by Federal Rule of Civil Procedure 65 to give federal officials fair notice as to when



                                           -1-
         Case: 23-30445      Document: 241       Page: 4   Date Filed: 09/11/2023




their “actions cross[ed] the line,” Op. 67; and that certain defendants should be excluded

from the injunction, Op. 72.

        2.    To seek to address those issues, this Court’s opinion limited the number

of defendants subject to the injunction, vacated nine of the injunction’s ten prohibi-

tions, and modified the terms of the remaining prohibition in order to “exclusively

target” what the Court regarded as “illegal conduct” and to “provide the officials with

additional guidance or instruction on what behavior is prohibited.” Op. 69. But these

modifications did not take immediate effect. The docket indicates that—consistent

with Federal Rule of Appellate Procedure 41(b)—the mandate will not issue until Oc-

tober 31. “Absent the issuance of a mandate, the original district court judgment re-

main[s] in effect,” because this Court’s decisions “are not final” until the mandate issues.

Comer v. Murphy Oil USA, Inc., 718 F.3d 460, 468 (5th Cir. 2013) (quotation marks omit-

ted).

        3.    The Court denied “as moot” the government’s pending motion to stay the

injunction pending appeal. Op. 74. But this Court’s opinion did not render the motion

moot because its modifications to the injunction will not take effect until this Court

issues its mandate.

        4.    This Court also extended the existing administrative stay—but only for

ten days, through September 18, to allow the Solicitor General to consider whether to

seek relief from the Supreme Court. The apparent result is that unless this Court, the

district court, or the Supreme Court were to take further action, the preliminary

                                           -2-
        Case: 23-30445      Document: 241        Page: 5   Date Filed: 09/11/2023




injunction as entered by the district court would take effect on September 19 and remain

in effect until the issuance of this Court’s mandate. That outcome would be flatly in-

consistent with this Court’s ruling and with principles of orderly judicial administration,

and it should unquestionably be avoided. This Court could avoid it in one of two ways.

       5.     First, this Court could enter a partial stay of the preliminary injunction, to

the extent it is inconsistent with this Court’s ruling, pending the issuance of the man-

date. The government is entitled to such a stay under the ordinary standard, Nken v.

Holder, 556 U.S. 418, 426 (2009), because this Court has already held that the govern-

ment’s appeal from the injunction succeeded to the extent of the proposed stay, and

because the Court’s opinion makes clear that the government would suffer harm by

being prohibited “from engaging in legal conduct,” Op. 66.

       6.     In the alternative, the Court could direct the clerk to issue the mandate

forthwith. See 5th Cir. R. 41 I.O.P. (“[T]he clerk will immediately issue the mandate …

in such … instances as the Court may direct.”) (capitalization omitted). The Court has

previously taken that approach when vacating a preliminary injunction, presumably to

avoid the anomaly presented here. See Dennis Melancon, Inc. v. City of New Orleans, 703

F.3d 262, 280 (5th Cir. 2012) (vacating a preliminary injunction, remanding for further

proceedings, and specifying that “[t]he mandate shall issue forthwith”); LULAC v. City

of Boerne, 675 F.3d 433, 441 (5th Cir. 2012) (vacating an order modifying a consent

decree, denying the appellant’s motion for a stay as moot, and specifying that “[t]he

mandate shall issue forthwith”).

                                           -3-
        Case: 23-30445     Document: 241       Page: 6   Date Filed: 09/11/2023




      7.     As between these options, a partial stay would be preferable, as it would

give immediate effect to this Court’s modification of the injunction without otherwise

altering the course of appellate proceedings. But either form of relief would avoid the

improper result of allowing the district court’s preliminary injunction to regain effect

even after having been held invalid by this Court.

                                               Respectfully submitted,

                                               BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney
                                                    General
                                               BRANDON BONAPARTE BROWN
                                                 United States Attorney
                                               DANIEL TENNY

                                                /s/ Daniel Winik
                                               DANIEL WINIK
                                               SIMON C. BREWER
                                                 Attorneys, Appellate Staff
                                                 Civil Division, Room 7245
                                                 U.S. Department of Justice
                                                 950 Pennsylvania Avenue NW
                                                 Washington, DC 20530
                                                 (202) 305-8849
                                                 Daniel.L.Winik@usdoj.gov




                                         -4-
        Case: 23-30445      Document: 241      Page: 7    Date Filed: 09/11/2023




                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that this motion

complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because it has been

prepared in 14-point Garamond, a proportionally spaced font, and that it complies with

the type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)(A) because

it contains 856 words, according to Microsoft Word.

      I further certify that this emergency motion complies with the requirements of

Fifth Circuit Rules 27.3 and 27.4 because it was preceded by telephone calls to the

Clerk’s Office and to the offices of opposing counsel, advising of our intent to file it.

Plaintiffs intend to file an opposition. I further certify that the facts supporting emer-

gency consideration of this motion are true and complete.


                                                /s/ Daniel Winik
                                                Daniel Winik
